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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO
                                       Honorable Marcia S. Krieger

  Civil Action No. 07-cv-02235-MSK-KMT

  DONALD N. TARANTO,

                  Plaintiff,

  v.

  UNITED STATES OF AMERICA,

                  Defendant.



                                   TRIAL PREPARATION ORDER
                                             -CIVIL



         To ensure that the parties are adequately prepared for trial, this Order sets deadlines,

  imposes requirements that supplement the Scheduling Order and imposes trial preparation

  requirements.

                                        A. Applicable Rules

         This proceeding is subject to the Federal Rules of Civil Procedure, the Federal Rules of

  Evidence, the Local Rules of Practice for the United States District Court for the District of

  Colorado and the MSK Civ. Practice Standards. A copy of the Practice Standards is available

  from the Clerk’s office or can be downloaded from the Court’s website at

  http://www.cod.uscourts.gov/Documents/Judges/MSK/msk_ps_civil.pdf. Parties who are not

  represented by counsel (pro se) are responsible for knowledge of and compliance with all

  applicable rules and provisions of this Order. References in this Order to “counsel” apply to
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  parties appearing pro se.

         If a party to this case is incarcerated, it is the responsibility of that party to provide a copy

  of this Order and all other orders issued in this case to his or her case manager. For purposes of

  attending a scheduled hearing by telephone, the case manager should contact the Courtroom

  Deputy Clerk, Patricia Glover at (303)335-2185 at least two business days prior to the hearing to

  make the necessary arrangements for the inmate to participate.

                                B. Dispositive and Rule 702 Motions

         The deadline for filing Rule 702 motions shall be the same as that for filing of dispositive

  motions. If the dispositive motion deadline is changed, the Rule 702 deadline automatically

  changes to match it.

         The format for dispositive motions is set out in MSK Civ. Practice Standard V.H, found at

  http://www.co.uscourts.gov/judges/msk_ps_civil.pdf. The format for Rule 702 motions is found

  at http://www.co.uscourts.gov/judges/msk_702procedures.pdf. Failure to use the appropriate

  format may result in a delayed ruling on the motion. If determination of a Rule 702 motion is

  required for determination of a dispositive motion, please so state in the title of the Rule 702

  motion.

                                    C. Final Pre-Trial Conference

         The Final Pre-Trial Conference in this case is set on the docket of the Honorable Marcia

  S. Krieger in the United States District Court for the District of Colorado, Courtroom A901,

  Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado, to commence at 9:00 a.m.

  on December 30, 2008. Lead counsel who will try the case and the parties (or, in the case of

  legal entities, a representative of the entity with full authority to discuss and approve

  settlements) shall attend.
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            The purposes of the conference are to ensure that the parties will be fully prepared to set

  and proceed to trial. At the hearing, the Court will review the Proposed Pre-Trial Order,

  determine what disputed issues will need to be tried, and determine what facts are stipulated and

  what facts remain in dispute. In addition, the Court may resolve some or all pending motions, set

  such other deadlines or hearings as required, and, if the Court determines the parties are prepared

  for trial, set a firm trial date. Counsel should bring calendars and know the availability of their

  critical witnesses for a period of up to six months from the date of the conference so that trial can

  be set.

                                      D. Proposed Pre-Trial Order

            For this case to be tried, the parties must: (1) have made final determinations as to which

  claims and affirmative defenses will be tried; (2) know the elements of such claims and affirmative

  defenses; (3) stipulate to all undisputed facts; and (4) know what evidence will be presented to

  establish the facts in dispute.

            Counsel shall meet and confer sufficiently in advance of the Pre-Trial Conference to jointly

  develop and file a Proposed Pre-Trial Order. The parties shall file the joint Proposed Pre-Trial

  Order at least 14 days before the conference. Except as specifically modified herein, parties

  should use the format of Appendix G of this Court’s Local Civil Rules for the Proposed Pre-Trial

  Order, available at the Court’s website. See www.co.uscourts.gov/forms/fin_pre_ord_new.pdf.

            However, such format shall be modified as follows:

            Section 3: Claims and Defenses – Parties are encouraged to omit a narrative summary of

  the claims, defenses, facts, and legal theories. If a party includes a narrative summary, such

  summary shall not exceed one page in length.

            Regardless of whether a narrative is included, this section MUST include a separate
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  enumeration of each claim and affirmative defense to be tried. For each claim and affirmative

  defense, the parties shall designate:

          1) which party has the burden of proof;

          2) the standard of proof;

          3) if the claim is governed by state law, the state whose law controls the claim; and

          4) each element, separately stated. For each element, the parties should state whether the

          necessary facts are stipulated. If not, the party with the burden of proof must state the

          fact(s) it intends to elicit in order to prove the element, referring specifically to each

          witness and exhibit that will be presented to establish the fact.

          An example of the proper form and content of the Statement of Claims and Defenses is

  attached to this Order. Any claims or affirmative defenses not specifically identified and supported

  as required above will be deemed waived. .

          Section 4: Stipulations of fact – The purpose of trial is to determine the truth as to

  disputed facts, then for the jury or Court to apply the law to all of the facts – stipulated and

  determined. Parties must stipulate to all material facts that are not reasonably in dispute. A party

  who refuses to stipulate to a particular fact should be prepared to identify and produce specific

  items of contradictory evidence, or to identify the anticipated source of such evidence and

  demonstrate why such evidence could not previously have been obtained. FED.R.CIV.P. 11(b)(4).

          Please be cognizant of the difference between disputing the existence of a fact and

  disputing the significance of that fact. A stipulation to the existence of fact (e.g. that the sun set

  at 7:00 p.m. on the day in question) does not prevent the party from arguing as to the significance

  of that fact (e.g. that there was or was not adequate daylight at 7:30 p.m.). A dispute between

  parties as to the significance of a fact does not justify a refusal to stipulate to a fact whose
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  existence is not disputed.

          Section 5: Pending motions – In addition to the information required in Appendix G,

  parties shall also identify all motions either party anticipates making prior to trial, including the

  specific relief to be requested.

          Section 6: Witnesses – In lieu of the designations required in Appendix G, the parties

  shall attach a single, joint list of all witnesses. The form is found at:

  www.co.uscourts.gov/judges/msk_witness.pdf. Do not designate witnesses as “may call” or “will

  call.” Unless the parties stipulate that a certain witness shall be present, the party desiring the

  witness’ attendance must secure it. Include the maximum estimated length of time necessary for

  direct and cross-examination of each witness. Time listed for direct examination should include

  redirect examination. Witnesses who will be called in both the Plaintiff’s and Defendant’s cases

  should be listed once, with the amount of time estimated for Plaintiff’s direct examination,

  Defendant’s direct examination, Plaintiff’s cross-examination, and Defendant’s cross-examination

  separately listed in the appropriate columns.

          Section 7: Exhibits – Exhibits shall be listed on a single joint exhibit list using the form

  available at www.co.uscourts.gov/judges/msk_exhibit.pdf. Exhibits shall be numbered without

  identification as to Plaintiff’s or Defendant’s exhibits. Parties may use the same exhibit numbers

  as used in pretrial discovery. The provisions of subsection (b) of Appendix G regarding the filing

  of objections to exhibits are waived. All objections are reserved for trial. Counsel shall exchange

  exhibits at least three business days before trial. Hard copies of the exhibits to be used at trial

  should be put in notebooks (original for the witness; copy for the Court). Please only put exhibits

  you are certain to admit in the notebooks; exhibits that might be used depending on the progress

  of trial and exhibits anticipated for impeachment or rebuttal can be added to the notebooks during
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  the trial if they are admitted. Exhibit notebooks shall be given to the Courtroom Deputy Clerk on

  the first day of trial.

                                           E. Trial Scheduling

          The parties shall be prepared to advise the Court as to the minimum number of days

  needed for trial. A firm trial date will be set at the time of the Final Pre-Trial conference. The

  trial date will be set as close to the Final Pretrial Conference date as possible, preferably within

  30-60 days from the date of the Conference. Where two or more counsel represent one party,

  and one is unavailable due to calendar conflicts, the trial may be set with the anticipation that it

  will proceed with only one attorney appearing for such party.

          Please note that jury trials begin on Monday afternoons at 1:00 p.m. and bench trials begin

  on Tuesday mornings at 9:00 a.m. With approximately six hours available per trial day, one

  week jury trials usually allow for only 20 hours for presentation of evidence, opening and closing

  statements, and argument on evidentiary objections and trial motions. (This calculation excludes

  opening statements of 15 minutes for each side, closing arguments of one-half hour for each side,

  jury selection, charging conference and initial and concluding instructions for the jury. If more

  time is necessary for any of these, request should be made at the Final Pretrial Conference.) One

  week bench trials usually allow for 24 hours for presentation of all evidence, opening and closing

  statements, objections, and arguments. Absent objections made at the Final Pre-Trial Conference,

  a chess clock will be used to divide trial time equally between Plaintiff(s) and Defendant(s).

          Any problems in the trial setting or special needs for witness scheduling shall be addressed

  at the Final Pre-Trial Conference. Except as agreed by counsel, designated witnesses shall be

  available during the entire trial period and their unavailability will not constitute a basis for delay

  in or continuance of the trial. Counsel should always have a sufficient number of witnesses
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  available to testify such that recesses or early adjournments of the trial day will not be necessary.

          At the time fixed for trial, all parties shall be present and ready to proceed. If any party is

  absent or unprepared to proceed, judgment may be entered forthwith in favor of the opposing

  party or the time of unavailability credited against the party’s share of the trial time. If both

  parties are absent or unprepared, the case may be dismissed, and costs, fees or sanctions may be

  imposed against either or both parties and/or their counsel.

                                       F. Modification of Order

          This Order may not be modified by agreement of the parties. Upon timely, written

  application, however, any party may seek modification as may be necessary to meet a bona fide

  emergency, to avoid irreparable injury or harm, or as may otherwise be necessary to do substantial

  justice. Extensions of time and continuances will not normally be granted for “press of other

  business” or for circumstances that could reasonably have been anticipated by counsel.

          Failure to comply with the provisions of this Order or the applicable procedural

  rules may result in imposition of sanctions including, but not limited to, vacation of the

  trial, barring the presentation of evidence, dismissal of claims or defenses, entry of default

  or awards of fees and costs in accordance with FED.R.CIV.P. 16 and 37.

          DATED this 18th day of January, 2008.

                                                          BY THE COURT:




                                                          Marcia S. Krieger
                                                          United States District Judge
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                             Attachment to Trial Preparation Order

  Example:

  Claim 1: Breach of contract under Colorado law
         Plaintiff has burden of proof by a preponderance of the evidence

         Elements:      (1)-(3) offer, acceptance, consideration
                                (a) the parties stipulate that these elements are satisfied
                        (4) performance by the plaintiff
                                (a) On March 3, 2004, Peter Plaintiff delivered one crate of widgets
                                to Widget Packers, Inc. (Testimony of Peter Plaintiff; Don
                                Defendant; Exhibits 1, 4)
                                (b) The widgets conformed to the specifications in the contract.
                                (Testimony of Peter Plaintiff; Exhibit 2)
                                (c) The widgets were delivered on the date set by the contract.
                                (Exhibit 2)
                        (5) non-performance by the defendant
                                (a) Widget Packers, Inc. failed to remit payment on the terms set by
                                the contract. (Testimony of Barry Bookkeeper; Exhibit 2)
                                (b) Peter Plaintiff has made several written demands for payment.
                                (Peter Plaintiff; Exhibits 3, 5, 7)
                        (6) damages
                                        (a) Peter Plaintiff has been damaged in the contract amount
                                        of $10,000. (Testimony of Peter Plaintiff; Exhibit 2).

  Claim 2: Unjust Enrichment under Colorado law
         Plaintiff has burden of proof on all elements by a preponderance of the evidence

         Elements:      (1) Defendant has received a benefit
                                (a) On March 3, 2004, Peter Plaintiff delivered one crate of widgets
                                to Widget Packers, Inc. pursuant to a contractual agreement.
                                (Testimony of Peter Plaintiff; Don Defendant; Exhibits 1, 2, 4).
                        (2) the benefit is at the Plaintiff’s expense
                                (a) Widget Packers, Inc. failed to remit payment on the terms set by
                                the contract. (Testimony of Barry Bookkeeper, Exhibit 2)
                        (3) justice requires that Defendant reimburse the Plaintiff for the
                        benefit received
                                (a) The widgets have a market value of $15,000. (Testimony of
                                Peter Plaintiff)
                                (b) Don Defendant is in breach of the contract. (Testimony of
                                Peter Plaintiff)


         Affirmative Defense to Claim 2: Failure to mitigate under Colorado law
                Defendant has burden of proof on all elements by a preponderance of the evidence

                 Elements:      (1) Plaintiff had a reasonable opportunity to avoid injury
                                        (a) On March 5, 2004, Don Defendant left a message on
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                                 Peter Plaintiff’s voice mail offering to return the crate of
                                 widgets unopened. (Testimony of Don Defendant; Peter
                                 Plaintiff)
                                 (b) On March 8, 2004, Don Defendant wrote to Peter
                                 Plaintiff, offering to assign the contract for the purchase of
                                 widgets to WidgetCo. (Don Defendant; Warren Widget;
                                 Exhibit 6)
                         (2) Plaintiff unreasonably failed to avail itself of opportunities
                         to avoid injury
                                 (a) Peter Plaintiff did not respond to the March 5, 2004
                                 message. (Don Defendant)
                                 (b) Peter Plaintiff did not respond to the March 8, 2004
                                 letter. (Don Defendant)
